         CASE 0:08-cr-00063-JRT-JSM        Doc. 60   Filed 01/07/10    Page 1 of 2




                         UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
   _______________________________________________________________________

    UNITED STATES OF AMERICA,                           Criminal No. 08-063 (JRT/JSM)

                                      Plaintiff,

    v.                                                            ORDER

    CAROLYN M. LOUPER-MORRIS (1)

    and

    WILLIAM J. MORRIS, JR. (2),

                           Defendants.
   _______________________________________________________________________


         Timothy Rank and David Genrich, Assistant United States Attorneys,
         OFFICE OF THE UNITED STATES ATTORNEY, 300 South Fourth
         Street, Suite 600, Minneapolis, MN 55415, for plaintiff.

         Paul Edlund, ATTORNEY AT LAW, 212 Third Avenue North, Suite 545,
         Minneapolis, MN 55401, for defendant Louper-Morris.

         Thomas Kelly, KELLY & JACOBSON, 220 South Sixth Street, Suite
         215, Minneapolis, MN 55402, for defendant Morris.



         The United States of America, by and through its attorneys, B. Todd Jones,

United States Attorney for the District of Minnesota, and Timothy C. Rank and David M.

Genrich, Assistant United States Attorneys, moved the Court for an Order correcting and

narrowing the Indictment in the above-captioned case. The United States provided a
       CASE 0:08-cr-00063-JRT-JSM        Doc. 60    Filed 01/07/10   Page 2 of 2


revised Indictment as an attachment to its motion. Defendants have agreed to the

changes sought in this motion.

      Based on a review of the motion and the arguments of the parties, the Court

concludes that it is appropriate to grant the motion. Accordingly, IT IS HEREBY

ORDERED that the United States’ motion to correct and narrow the Indictment [Docket

No. 56] is GRANTED.



Dated: January 6, 2010
at Minneapolis, Minnesota                      ____s/ John R. Tunheim ____
                                                 JOHN R. TUNHEIM
                                               United States District Judge
